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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                  )       Chapter 11
                                        )
MALLINCKRODT PLC, et al.,               )       Case No. 20-12522 (JTD)
                                        )
                  Debtor.               )
                                        )       Re: Docket No. 2165


                                               ORDER

          For the reasons stated on the record at the hearing held on this day, the Debtors’ First

Omnibus Objection to Unsubstantiated Claims (Substantive) (D.I. 2165) is sustained.

          SO ORDERED.




         Dated: July 23rd, 2021                            JOHN T. DORSEY
         Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE
                                                                                    JU
                                                                                     UD
                                                                                      DGE
